                        United States District Court
                 For The Western District of North Carolina
                            Charlotte Division

Thomas Gregory Sanderlin
and Laura Denise Bradshaw


               Plaintiff(s),                   JUDGMENT IN A CIVIL CASE

vs.                                            3:11cv213

Hutchens, Senter, Britton, PA, et al

               Defendant(s).



DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s May 3, 2011 Order.


                                           Signed: May 3, 2011




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